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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                               Civil Action No. 24-2063 (AHA)

 2,546,415.01 USDT SEIZED FROM TWO
 BINANCE ACCOUNTS WITH USER IDS
 ENDING IN 9186 AND 5164,

                Defendant.



                                              Order

       On July 16, 2024, the United States filed a verified complaint for forfeiture in rem against

the Defendant Property. ECF No. 1. No claimants have asserted an interest in the Defendant

Property. On April 16, 2025, the Clerk of the Court entered default. ECF No. 9.

       The verified complaint alleges that the Defendant Property is subject to forfeiture pursuant

to 18 U.S.C. § 981(a)(1)(A) and (C), as property constituting proceeds “of wire fraud and wire

fraud conspiracy offenses, committed in violation of 18 U.S.C. §§ 1343, 1349, 2, and 3, and as

involved in money laundering and money laundering offenses, committed in violation of 18 U.S.C.

1956(a)(1)(B)(i), 1956(a)(2)(B)(i), 1956(h), and 2, and 3.” ECF No. 1 ¶ 4.

       It appears the United States fully issued process: (1) On July 16, 2024, the United States

commenced the action by filing a verified complaint for forfeiture in rem. ECF No. 1. (2) On July

17, 2024, the Court found probable cause and issued a warrant for arrest in rem. ECF No. 2. (3)

The United States has shown via sealed evidence that it gave direct notice of the forfeiture action

to potential claimants. ECF No. 13. (4) Beginning on October 2, 2024, an official internet
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government forfeiture website posted notice for at least 30 consecutive days, in compliance with

Supplemental Rule G(4)(a)(iv)(C). ECF No. 5-1.

        No interested person has filed a claim, and the time to do so has expired. ECF No. 11 ¶ 9.

        The United States’ amended motion for default judgment and final order of forfeiture, ECF

No. 11, is granted. The Court enters default judgment against all persons or entities claiming an

interest in Defendant Property, and Defendant Property is forfeited to the government. This is a

final order.




                                                     AMIR H. ALI
                                                     United States District Judge

Date: May 21, 2025




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